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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           Case No. 23-mc-22764-BLOOM/Torres

 SECURITIES AND EXCHANGE COMMISION,

        Plaintiff,

 v.

 BRANDON CHARNAS,

       Defendant.
 ___________________________________________/

                     ORDER REFERRING CASE TO MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. § 636 and Local Magistrate Judge Rule 1, it is ORDERED that this

 case is REFERRED to Chief Magistrate Judge Edwin G. Torres for a ruling on all pre-trial, non-

 dispositive matters and for a Report and Recommendations on any dispositive matter.

        DONE AND ORDERED in Chambers at Miami, Florida, on January 9, 2024.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record
